         Case 1:23-cr-00257-TSC Document 130 Filed 11/02/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *     CRIMINAL NO. 23-cr-257 (TSC)
                                                *
 DONALD J. TRUMP,                               *
                                                *
                Defendant.                      *
                                                *

                                            ORDER

       Having considered the parties’ briefs identifying certain jury procedures that both parties

have agreed upon, and for good cause shown, the Court orders as follows:

       1.     The Court will use a written questionnaire in advance of in-person jury selection.

The Government will prepare a written questionnaire for distribution to prospective jurors and

meet and confer with defense counsel regarding the questionnaire before submitting it for Court

approval on      January 9, 2024         . To the extent the parties do not agree on any question,

the Government, at the time it submits the proposed questionnaire, shall also submit a joint filing

identifying the disputed language and succinctly stating the parties’ respective positions. After

review and approval by the Court, the questionnaire will be distributed to prospective jurors

summoned to complete it at the courthouse on        February 9, 2024        .

       2.     Although the parties may conduct open-source research regarding prospective

jurors, they may not do so in any way that involves direct contact or communication with a

prospective juror, nor may the parties use non-public databases for juror research. The parties

must ensure that anyone permitted access to sensitive juror information understands that he cannot

publicly disclose the information, and no party may provide jurors’ identifying information to any
         Case 1:23-cr-00257-TSC Document 130 Filed 11/02/23 Page 2 of 2




other entity (e.g., the defendant’s campaign) that is not part of the defense team or Government

team assisting with jury selection.

       3.      No party may disclose, either in open court or outside of court, prospective jurors’

names or any identifying information.

       Accordingly, the government’s Motion for Fair and Protective Jury Procedures, ECF No.

97, is hereby GRANTED.



       Date: November 2, 2023




                                                  Tanya S. Chutkan
                                                HON. TANYA S. CHUTKAN
                                                DISTRICT COURT JUDGE




                                               -2-
